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                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


A.S. AND G.S., both minor children,      )
by and through their parent,             )
Adam Stephens                            )
                                         )
            Plaintiffs                   )
                                         )
v.                                       ) Case No.: 5:21-cv-1369-MHH
                                         )
HUNTSVILLE CITY BOARD OF                 )
EDUCATION; CHRISTIE FINLEY               )
in her individual capacity and in her    )
official capacity as Superintendent      )
of the Huntsville City Schools; and      )
ELISA FERRELL, BETH WILDER,              )
CARLOS MATHEWS, MICHELLE                 )
WATKINS, and RYAN RENAUD,                )
all in their individual capacities and   )
in their capacities as members of the    )
Huntsville City Board of Education,      )
                                         )
            Defendants.                  )


                 DEFENDANTS’ MOTION TO DISMISS
                ALL CLAIMS ASSERTED BY PLAINTIFFS
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      Defendants Huntsville City Board of Education, Christie Finley, Elisa Ferrell,

Beth Wilder, Carlos Mathews, Michelle Watkins, and Ryan Renaud (collectively

“Defendants”) move this Court to dismiss all claims asserted by Plaintiffs A.S. and

G.S., both minor children, by and through their parent, Adam Stephens (“Plaintiffs”).

I.    PLAINTIFFS’ COMPLAINT

      A.     Parties

      Adam Stephens, who is not an attorney, brought this action pro se on behalf of

his children, A.S. and G.S., who are students in Huntsville City Schools. (Doc. 1, ¶¶

1, 2). The Defendants in this action are the Huntsville City Board of Education (“the

Board”), Superintendent Christie Finley, and Board Members Elisa Ferrell, Beth

Wilder, Carlos Mathews, Michelle Watkins, and Ryan Renaud. (Doc. 1, ¶¶ 3-9). The

Superintendent and Board Members (also referred to herein as “individual

defendants”) are sued both in their official and individual capacities. (Doc. 1, ¶¶ 4-9).

      B.     Factual Allegations

      On or about July 26, 2021, at a meeting of the Board, Superintendent

Christie Finley announced that students would be required to wear masks while in

school buildings as part of the Board’s COVID-19 protocol. (Doc. 1, ¶ 25). Plaintiffs

submitted an affidavit of Stephen E. Petty who purports to be an expert in the field

of Industrial Hygiene. (Doc. 1 at CM/ECG pages 6-10; Doc. 1-4). Mr. Petty

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contends that regular masks are ineffective in stopping the spread of COVID-19.

(Id.). Mr. Petty also opines that people who are forced to wear masks may possibly

be harmed because masks cause a decrease of oxygen saturation and an increase in

carbon dioxide which could cause an increased heart rate and, sometimes, and an

increase in blood pressure. (Id.). Plaintiffs also allege that school officials have not

worn masks in public settings and that Defendants have a financial incentive for

implementing a mask mandate because the school system could lose federal funds in

the absence of such a mandate. (Doc. 1 at CM/ECF pp. 5-6, 10).

      C.     Claims Asserted

      The Complaint contains two Counts. (Doc. 1 at CMECF pp.11-12). In Count

I, Plaintiffs assert a claim under Section 1983 for violation of “procedural due

process.” Plaintiffs state that they have a “constitutionally protected interest in the

benefits that come from not being subject to the Board’s mask mandate, including the

ability to pursue an education without being subjected to health risks that are not

offset by any scientifically provable benefits.” (Doc. 1 at CM/ECF p. 11). Plaintiffs

specifically contend that “Defendants’ implementation of the mask policy unlawfully

deprives Plaintiffs of these and other constitutionally-protected interests without due

process of law. . . [and that] such deprivation occurred without notice or meaningful

opportunity to be heard as the Superintendent instated [sic] the mask mandate prior

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to offering an opportunity for public discussion.” (Id.).

      Count II is labeled as “interference with constitutional and civil rights.” (Doc.

1 at CM/ECF p. 11). The text of Count II contends that the Board’s mask mandate

violates several provisions of Article I of the Alabama Constitution. (Id. at p. 12).

      The Complaint does not seek damages. (Doc. 1 at CM/ECF p. 13). Rather, it

requests injunctive and declaratory relief enjoining the Defendants from

implementing and enforcing the mask mandate, and declaring that the mask mandate

violates federal and state Constitutional law. (Id.).

II.   ADAM STEPHENS CANNOT REPRESENT HIS CHILDREN PRO SE

      The Complaint contains claims asserted by Adam Stephens on behalf of his

children, A.S. and G.S. (Doc. 1, ¶ 1). There are no claims asserted by Adam

Stephens on his own behalf. (See Doc. 1). Adam Stephens is not an attorney.

      The Eleventh Circuit has made clear that a parent may not bring claims on

behalf of his or her child when proceeding pro se. FuQua v. Massey, 615 Fed.Appx.

611, 612 (11th Cir. 2015); Whitehurst v. Wal-Mart, 306 Fed.Appx. 446, 448-49 (11th

Cir. 2008). When parents have attempted to represent their children pro se, District

Courts within the Eleventh Circuit have held that such claims are due to be dismissed.

See Crafton v. Effingham County School Board of Education, 2021 WL 4691447,

*1-*2 (S.D. Ga. Oct. 7, 2021) (complaint is subject to dismissal for lack of subject

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matter jurisdiction because parent cannot represent child); B.E. through Stallworth

v. Shelby County Board of Education, 2020 WL 7129891, *3 (N.D. Ala. Dec. 4,

2020) (“because Stallworth is not an attorney, the § 1983 claims Stallworth asserts

on behalf of B.E. necessarily fail and are due to be dismissed.”); Withers v.

Bradshaw, 2020 WL 6144636, *2 (S.D. Fla. Sept. 9, 2020) (holding that since parent

is not a real party in interest and cannot proceed pro se on behalf of child, “the

Complaint must be dismissed”) ; L.R. v. Leon Cty. Sch. Bd, 2020 WL 5899513, *8

(N.D. Fla. Aug. 27, 2020) (finding that to the extent that pro se parent is pursuing

claims of child, those claims are due to be dismissed).

       For this reason, the Complaint is due to be dismissed.

III.   THE COMPLAINT DOES NOT STATE A VIABLE CLAIM

       A.    The Complaint Does Not Allege a Plausible Due Process Claim

             1.     Procedural Due Process Claim

       The Fourteenth Amendment prohibits a state from “depriv[ing] any person of

life, liberty, or property without due process of law.” To establish a procedural due

process claim, the Plaintiffs must allege facts sufficient to show: (1) a deprivation of

a constitutionally-protected liberty or property interest; (2) state action; and (3)

constitutionally inadequate process. Barr v. Jefferson County Barber Comm’n, 250

F.Supp.3d 1245, 1255 (N.D. Ala. 2017).

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      The facts alleged in the Complaint do not demonstrate a constitutionally-

protected liberty or property interest. The Plaintiffs stated that they have a protected

interest “in the benefits that come from not being subject to the Board’s mask

mandate, including the ability to pursue an education, without being subjected to

health risks that are not offset by an scientifically provable benefits.” (Doc. 1 at

CM/ECF p. 11). There is no case law supporting the proposition that a school

masking requirement violates students’ liberty interest. In fact, case law has rejected

this argument. As one court stated in rejecting this argument, parents “are not entitled

to undermine the Government’s public health efforts during a global pandemic by

refusing to have their children comply with a school masking requirement.”

Oberheim v. Bason, 2021 WL 4478333, *4 (M.D. Penn. Sept. 30, 2021).

      Courts have similarly rejected the argument that a school masking requirement

deprives students of a property interest. The Supreme Court has held that students

have a legitimate entitlement to a public education as a property interest which is

protected by the due process clause. Goss v. Lopez, 419 U.S. 565, 574 (1975).

However, “a student’s entitlement to a public education is not without limits.”

Oberheim, 2021 WL 4478333 at *5. Students cannot dictate curriculum, classes, or

policies. Id. “So long as administrative policies do not exclude a student from class,

they do not implicate the property interest in public education.” Id. Since a mask

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mandate does not exclude students from school, it does not unlawfully deprive the

students of a public education. Id.; see also Miranda v. Alexander, 2021 WL

4352328, *3 - *4 (M.D. La. Sept. 24, 2021); P.M. by and through Maras v. Mayfield

City School District, 2021 WL 4148719, *3 (N.D. Ohio Sept. 13, 2021).

       Even if the mask requirement constituted a deprivation of a liberty or property

interest, which it does not, the Plaintiffs have not alleged a constitutionally

inadequate process. The only inadequate process alleged by Plaintiffs is the failure

of Defendants to hold public comment before announcing the mask requirement.

However, there is no due process right to public comment before a public body enacts

a policy or requirement. Even if a procedural due process violation did exist, such

a claim will not be cognizable under Section 1983 if the state provides a remedy by

which to remedy the alleged deprivation. McKinney v. Pate, 20 F.3d 1550, 1563

(11th Cir. 1994). Here, Plaintiffs have the ability to challenge the decision of the

Defendants in the state courts by filing a lawsuit claiming that the mask requirement

exceeded their authority. Therefore, since the state of Alabama provides an avenue

to challenge the mask decision through its courts, the Plaintiffs have no actionable

Section 1983 procedural due process claim.

       For all of these reasons, the procedural due process claim fails as a matter of

law.

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             2.     Substantive Due Process Claim

      Even though Plaintiffs have not alleged a substantive due process claim in the

Complaint, to the extent such a claim is inferred, it is due to be dismissed. “Because

students do not possess a fundamental right to attend school without wearing a mask

or other face covering, the Plaintiffs’ substantive due process claim is governed by

the rational basis test.” Oberheim, 2021 WL 4478333 at *8; see also Sonderman v.

Ragsdale, 2021 WL 2024687, *2 (N.D. Ga. May 12, 2021) (“Rational-basis is the

proper standard of review for the mask mandate.”). The requirement that students

wear masks in school easily passes this test. The Defendants have a clear interest in

promoting the health of the students, and there is a clear rational basis for taking steps

to reduce the spread of COVID-19 in the midst of a pandemic.

      A number of courts have recently considered the argument that a masking

requirement is a violation of the students’ right to substantive due process. All have

found that the masking requirement passes the rational basis test. Oberheim, 2021

WL 4478333 at *8 (“the Court finds that the Mask Mandate is rationally related to

the legitimate interest in reducing the spread of COVID-19.”); Miranda v. Alexander,

2021 WL 4352328, *4 (M.D. La. Sept. 24, 2021) (“[w]ith respect to Plaintiff’s

substantive due process argument, there is no fundamental constitutional right not to

wear a mask.”); P.M. by and through Maras v. Mayfield City School District, 2021

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WL 4148719, *3 (N.D. Ohio Sept. 13, 2021) (“school mask mandates do not run

afoul of the Fourteenth Amendment.”); Klaassen v. Trustees of Indiana University,

 2021 WL 3073926, *40 (N.D. Ind. July 18, 2021) (“Indiana University has a

legitimate interest in promoting the health and safety of its students. And the masks

and testing are rationally related to achieving those measures.”).

      For these reasons, Plaintiffs have not alleged an actionable substantive due

process claim.

             3.    Official Capacity Claims are Due to be Dismissed as
                   Redundant

      Even assuming for purposes of argument that Plaintiffs had alleged a viable

due process claim, the official capacity claims are due to be dismissed because they

are redundant to the claim against the Board.

      The due process claims asserted through Section 1983 (Count I) are asserted

against the Board and against Christie Finley, Elisa Ferrell, Beth Wilder, Carlos

Mathews, Michelle Watkins, and Ryan Renaud in both their official and individual

capacities. When a public official or public employee is sued in his or her official

capacity, “the suit is simply another way of pleading an action against an entity of

which an officer is an agent.” Busby v. City of Orlando, 931 F.2d 764, 776 (11th

Circ. 1991). Thus, “[w]hen suit is also filed against the [public employer], the court



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should dismiss the individual defendant[s] in [their] official capacit[ies] as ‘redundant

and possibly confusing to the jury.’” McElroy v. City of Birmingham, 903 F.Supp.2d

1228, 1242 (N.D. Ala. 2012) (quoting Busby, 931 F.2d at 776). Here, “[b]ecause the

real part[y] in interest” as to Plaintiffs’ official capacity claims is “the government

entit[y] and not the named officials,” Plaintiffs’ claims against these Defendants in

their official capacities are inappropriate and should be dismissed. De Veloz v.

Miami-Dade County, 255 F.Supp.3d 1222, 1239 (S.D. Fla. 2017).

             4.     Individual Defendants Have Qualified Immunity

      Even assuming for purposes of argument that Plaintiffs had stated a plausible

due process claim, the individual defendants have qualified immunity from the

Section 1983 due process claim in their individual capacities. “An official sued under

§ 1983 is entitled to qualified immunity unless it is shown that the official violated

a statutory or constitutional right that was ‘clearly established’ at the time of the

challenged conduct.” Plumhoff v. Rickard, 134 S. Ct. 2012, 2023 (2014). As the

Supreme Court has stated:

             An officer cannot be said to have violated a clearly
             established right unless the right’s contours were
             sufficiently definite that any reasonable official in [his]
             shoes would have understood that he was violating it,
             meaning that existing precedent . . . placed the statutory or
             constitutional question beyond debate. This exacting
             standard gives government officials breathing room to

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             make reasonable but mistaken judgments by protect[ing]
             all but the plainly incompetent or those who knowingly
             violate the law.

City & Cnty. of San Francisco v. Sheehan, 135 S. Ct. 1765, 1774 (2015).

      To be entitled to qualified immunity, the individual defendants must first

establish that they were acting within the scope of their discretionary authority.

Gaines v. Wardynski, 871 F.3d 1203, 1208 (11th Cir. 2017). The burden then shifts

to the Plaintiffs to demonstrate that qualified immunity is not appropriate. Id. To do

so, the Plaintiffs must demonstrate two things: (1) that the individual defendants

violated their constitutional rights, and (2) that, at the time of the violation, those

rights were clearly established in light of the specific context of the case, not as a

broad general proposition. Id.

      Broad statements of black letter law are insufficient to clearly establish law.

Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011) (“The general proposition ... that an

unreasonable search or seizure violates the Fourth Amendment is of little help in

determining whether the violative nature of particular conduct is clearly

established.”); Belcher v. City of Foley, 30 F.3d 1390, 1400 (11th Cir. 1994) (“Law

is clearly established by holdings, not by inferences from languages in opinions.”).

      Here, it is clear that the individual defendants were acting within the scope of

their discretionary authority because it is only by virtue of their positions as

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Superintendent and Board Members that they had the authority to implement a

mandate that students wear protective masks. In fact, Plaintiffs’ claims are premised

on the existence of the individual defendants’ discretionary authority. Plaintiffs

allege that the individual defendants should have allowed public comment on the

issue of a mask mandate and then should have refrained from implementing such a

mandate. However, the individual defendants would not have the ability to take any

of these actions if the law did not provide them the discretionary authority to do so.

Thus, it is beyond dispute that the allegations against the individual defendants

concern matters within their discretionary authority.

      As discussed above, there is no plausible allegation that the individual

defendants committed a constitutional violation. Moreover, there is no case law,

much less authority from the Alabama Supreme Court, Eleventh Circuit Court of

Appeals, or the United States Supreme Court which has held that implementing a

mask mandate without allowing public comment is a violation of the students’ right

to due process. In fact, as discussed above, case law has been clear that the individual

defendants’ actions were not a violation of due process law. In the absence of clearly

established law that the individual defendants’ actions violate due process law, the

individual defendants are entitled to qualified immunity.




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      B.     Count II Does Not Allege a Plausible Claim and is Barred by Section
             14 and State-Agent Immunity

      Count II alleges that the Defendants’ actions are contrary to the Alabama

Constitution.     However, the mask mandate does not violate any Alabama

Constitutional provision. Moreover, the claims in Count II are barred by Section 14

and State-agent immunity.

             1.     Article I, Section 14 of the Alabama Constitution

      Article I, Section 14 of the Alabama Constitution provides that “[t]he State of

Alabama shall never be made a defendant in any court of law or equity.” “The wall

of immunity erected by § 14 is nearly impregnable.” Ex parte Board of Trustees of

University of Alabama, 264 So.3d 850, 853 (Ala. 2018) (quoting Alabama

Department of Corrections v. Montgomery County Commission, 11 So.3d 189, 191-

92 (Ala. 2008)). “Indeed, as regards the State of Alabama and its agencies, the wall

is absolutely impregnable.” Id. (emphasis in original). “Absolute immunity means

just that - the State and its agencies are not subject to suit under any theory.” Id.

“This immunity may not be waived.” Id. “Sovereign immunity is, therefore, not an

affirmative defense, but a jurisdictional bar.” Id. The jurisdictional bar of § 14

precludes a court from exercising subject matter jurisdiction over the State or a state

agency. Id. “Thus, a complaint filed solely against the State or one of its agencies is



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a nullity and is void ab initio.” Id. “Any action taken by a court without subject-

matter jurisdiction – other than dismissing the action – is void.” Id.

             2.    The Board Has Section 14 Immunity

      The Alabama Supreme Court has expressly held that local boards of education

are agencies of the State entitled to absolute immunity under Article I, Section 14 of

the Alabama Constitution. See Ex parte Montgomery County Board of Education,

270 So.3d 1171, 1173 (Ala. 2018) (Because the local board of education is an agency

of the state, it is entitled to Section 14 immunity from suit); Ex parte Bessemer City

Board of Education, 143 So.3d 726, 728-29 (Ala. 2013) (city board of education has

“absolute immunity” from state law claims); Ex parte Phenix City Board of

Education, 109 So.3d 631, 632-33 (Ala. 2012) (local boards of education are

agencies of the State entitled to absolute immunity under Section 14 of the Alabama

Constitution); Ex parte Boaz City Board of Education, 82 So.3d 660 (Ala. 2011)

(“the Board enjoys immunity, pursuant to Art. I, § 14, Ala. Const. 1901, from the tort

claims alleged against it.”).   Thus, the Huntsville City Board of Education is an

agency of the State of Alabama entitled to Section 14 immunity.

      As the Eleventh Circuit and numerous Alabama District Courts have

acknowledged, the absolute immunity given to local boards of education by Article

I, Section 14 of the Alabama Constitution extends to state law causes of action

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asserted in federal courts. See Walker v. Jefferson County Board of Education, 771

F.3d 748, 754-55 (11th Cir. 2014) (contrasting the lack of Eleventh Amendment

immunity possessed by local boards of education from federal causes of action with

the immunity local boards of education possess from state law causes of action);

Worthington v. Elmore County Board of Education, 160 Fed.Appx. 877, 883 (11th

Cir. 2005) (acknowledging that the immunity provided by Article I, Section 14 of the

Alabama Constitution extends to “municipal boards of education”); Hurt v. Shelby

County Board of Education, 198 F.Supp.3d 1293, 1313 (N.D. Ala. 2016) (state law

causes of action against a local board of education are barred by the Alabama

Constitution); Barnett v. Baldwin County Board of Education, 60 F.Supp.3d 1216,

(S.D. Ala. 2014) (local boards of education have absolute immunity from state law

cause of action); Shumate v. Selma City Board of Education, 928 F.Supp.2d 1302,

1327-28 (S.D. Ala. 2013) (all state law causes of action against the city board of

education are barred by Article I, Section 14 of the Alabama Constitution); Jeffers

v. Russell County Board of Education, 2008 WL 410621, *15 (M.D. Ala. Feb. 13,

2008) (local board of education has Section 14 immunity in federal court from state

law claim of assault and battery); John Does v. Covington County Board of

Education, 884 F. Supp. 462, 466-67 (M.D. Ala. 1995) (local board of education is

entitled to sovereign immunity in federal court from state law claims).

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             3.     The Individual Defendants Have Section 14 Immunity From
                    Official Capacity Claims

      “Not only is the State immune from suit under § 14, but the State cannot be

sued indirectly by suing an officer in his or her official capacity.” Ex parte Bessemer

Board of Education, 68 So. 3d 782, 789 (Ala. 2011). “The immunity afforded State

officers sued in their official capacities, however, is not unlimited.” Id. The

categories of actions which do not come within the prohibition of § 14 include:

             (1) actions brought to compel State officials to perform
             their legal duties; (2) actions brought to enjoin State
             officials from enforcing an unconstitutional law; (3)
             actions to compel State officials to perform ministerial
             acts; (4) actions brought against State officials under the
             Declaratory Judgments Act seeking construction of a
             statute and its application in a given situation; [and] (5)
             valid inverse condemnation actions brought against State
             officials in their representative capacity.

Alabama State University v. Danley, 212 So.3d 112, 123 (Ala. 2016) (internal

citations omitted). The final category of actions which are not prohibited by § 14

include:

             (6)(a) actions for injunction brought against State officials
             in their representative capacity where it is alleged that they
             had acted fraudulently, in bad faith, beyond their authority,
             or in a mistaken interpretation of law, and (b) actions for
             damages brought against State officials in their individual




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             capacity where it is alleged that they had acted
             fraudulently, in bad faith, beyond their authority, or in a
             mistaken interpretation of law.

Id.

       Plaintiffs’ claims do not fall within the exceptions to Section 14 immunity for

state officers. The Complaint argues that mandating that masks be worn in school

buildings violates the Alabama Constitution. Plaintiffs cite Alabama Constitution

Article I, Sections 1, 2, 35, and 36 in support of this argument. Essentially, Plaintiffs

argue that requiring children to wear masks violates the Constitutional guarantee of

life, liberty, and the pursuit of happiness. However, there is no case law which holds

that requiring children to wear masks in school buildings in the midst of a pandemic

violates their right to life, liberty, and the pursuit of happiness. To the contrary,

school systems are charged with the protection of students and are given great leeway

in taking measures to safeguard their health and safety.

      Even if Plaintiffs’ allegations fit one of the categories of exceptions, there is

no plausible claim that the mask mandate is a violation of the Alabama Constitution

as there is no legal support for the proposition that any constitutional provision

prevents school officials from taking safety measures recommended by the Alabama

Department of Public Health. Because the Complaint contains no plausible claim,

nor any exception to official capacity immunity, the claims are due to be dismissed.

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              4.     The Individual Defendants Have Section 14 Immunity From
                     Individual Capacity Claims

        In a number of recent decisions, the Alabama Supreme Court has held that

state law claims asserted against state officials in their individual capacities are barred

by the absolute immunity provided by Article I, Section 14 of the Alabama

Constitution when the claims are, in effect, against the state agency. Meadows v.

Shaver, et al., 2020 WL 6815066, *3 (Ala. Nov. 20, 2020); Anthony v. Datcher, 321

So.3d 643, 655 (Ala. 2020); Barnhart v. Ingalls, 275 So. 3d 1112, 1125-27 (Ala.

2018). A claim against a state official which is, in effect, against the state agency is

barred by Section 14 absolute immunity even if the plaintiff alleges that the State

officials acted fraudulently, in bad faith, beyond their authority, or in a mistaken

interpretation of the law. Barnhart, 275 So. 3d at 1125.

       A claim against a State official individually is in effect, against the State

agency, if the nature of the claim is such that the duty owed by the State official arises

only because of his or her position as a state official. Barnhart, 275 So.3d at 1126-27.

For example, in Barnhart, former employees of a state agency filed suit against state

officials in their official and individual capacities alleging that the state agency failed

to provide them paid leave and longevity bonuses in accordance with Alabama

statutory requirements. Id. at 1116-18. The former employees asserted tort and



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personal injury claims against the state agency officials in their individual capacities

alleging that their actions constituted negligence, wantonness, and breach of their

fiduciary duty. Id. at 1118. The Barnhart Court held that the state officers were

entitled to Article I, Section 14 absolute immunity from the negligence, wantonness,

and breach of fiduciary duty claims brought against them in their individual

capacities. Barnhart, 275 So.3d. at 1125-27. Specifically, the Barnhart Court held

that:

        the [State] officers had no duties in their individual capacities to give
        effect to the benefit statute; rather, any duties they had in that regard
        existed solely because of their official positions in which they acted for
        the State. . . . Accordingly, the individual-capacity claims are, in effect,
        claims against the State that are barred by § 14. The nature of the
        individual-capacities claims requires this holding, and any previous
        decisions of this Court containing language indicating that the State
        immunity afforded by § 14 cannot apply when monetary damages are
        being sought from state officers in their individual capacities – such as
        the dicta quoted above from Ex parte Bronner – are overruled to the
        extent they support that proposition.

Barnhart, 275 So.3d at 1126-27.

        The Alabama Supreme Court has applied the principles set forth in Barnhart

in finding that individual capacity claims against State employees and officials are

barred by Section 14 immunity. In Anthony v. Datcher, 321 So.3d 643 (Ala. 2020),

education employees sued the president of a two year college in both her official and

individual capacities alleging that the president had not properly classified them,

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resulting in a lower salary. Citing its decision in Barnhart, the Alabama Supreme

Court reversed the judgment against the president individually on the basis of Section

14 immunity since the duty to classify employees existed only as a result of the

president’s official position. Anthony, 321 So.3d at 655.

        In Meadows v. Shaver, et al., 2020 WL 6815066 (Ala. Nov. 20, 2020), the

plaintiff sued, among others, the circuit clerk of the county for negligence,

wantonness and false imprisonment because the circuit clerk failed to send

documentation to the Alabama Department of Corrections (“ADOC”) concerning his

release from prison date, which resulted in his serving eight more months in prison

after he should have been released. The duties allegedly breached by the circuit clerk

were:

        !    to properly document the plaintiff’s release date;
        !    to notify ADOC of the plaintiff’s situation;
        !    to provide appropriate action based on the plaintiff’s known release date
             and other records;
        !    to ensure that the ADOC received the necessary transcript with the
             sentence status as required by statute; and
        !    to train and supervise subordinate employees to send and ensure ADOC
             received the required transcript.

Meadows, 2020 WL 6815066 at * 3. The Meadows Court held that these duties

“existed only because of [the circuit clerk’s] State position” and are therefore barred

by Section 14 immunity pursuant to the precedent set forth in Barnhart. Id.



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      For the same reasons as set forth in Barnhart, Anthony, and Meadows, the

individual capacity claims against Christie Finley, Elisa Ferrell, Beth Wilder, Carlos

Mathews, Michelle Watkins, and Ryan Renaud are barred by Article I, Section 14 of

the Alabama Constitution. A necessary element of each of the State law claims

alleged by Plaintiffs is whether Board officials owed a duty to Plaintiffs in their

individual capacities. Plaintiffs allege that the Board officials are responsible for

instituting a mask policy. The Board officials have no legal authority or legal duty

in their individual capacities to make decisions concerning whether to require

students to wear masks. Rather, the only reason the Board officials have this

authority or duty arises solely out of their positions with the Board.

      Since these Board officials had no legal authority or duty in their individual

capacities, the individual defendants are entitled to the absolute immunity provided

by Article I, Section 14 of the Alabama Constitution from the claims asserted in

Counts II. See Barnhart, 275 So.3d at 1125-27.

             5.    The Individual Defendants Have State-Agent Immunity

      In addition to the absolute immunity provided by Section 14, the individual

capacity claims against the individual defendants are also barred by State-agent

immunity provided by Alabama Code § 36-1-12(c) and the principles set forth in Ex

parte Cranman, 792 So.2d 392, 405 (Ala. 2000).

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                    a.     Alabama State-agent immunity law

      “An officer, employee, or agent of the state, including but not limited to, an

education employee, is immune from civil liability in his or her personal capacity

when the conduct made the basis of the claim is based upon the agent’s doing any of

the following:

      (1) Formulating plans, policies or designs.

      (2) Exercising his or her judgment in the administration of a department
      or agency of government, including, but not limited to, examples such
      as:

             (a) Making administrative adjudications;

             (b) Allocating resources;

             (c) Negotiating contracts;

             (d) Hiring, firing, transferring, assigning, or supervising
             personnel.

      (3) Discharging duties imposed on a department or agency by statute,
      rule, or regulation, insofar as the statute, rule or regulation prescribes the
      manner for performing the duties and the State agent performs the duties
      in that manner.

      (4) Exercising judgment in the enforcement of the criminal laws of the state,
      including but not limited to, law enforcement officers’ arresting or attempting
      to arrest persons.

      (5) Exercising judgment in the discharge of duties imposed by statute, rule,
      or regulation in releasing prisoners, counseling or releasing persons of unsound
      mind, or educating students.”

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Alabama Code § 36-1-12(c) (emphasis added); Ex parte Cranman, 792 So.2d at 405.

      However, a state official is not immune from civil liability in his or her

personal capacity if: he or she acts willfully, maliciously, fraudulently, in bad faith,

beyond his or her authority, or under a mistaken interpretation of the law. Alabama

Code § 36-1-12(d); see also Ex parte Cranman, 792 So.2d at 405.

                    b.     The burden-shifting process

      The Alabama Supreme Court has established a “burden shifting” process when

a party raises the defense of State-agent immunity. Ex parte Trimble, 201 So.3d 1124,

1128 (Ala. 2016). In order to establish State-agent immunity, a state agent bears the

burden of demonstrating that the plaintiffs’ claims arise from a function that would

entitle the State-agent to immunity. Id. “If the State agent makes such a showing, the

burden shifts to the plaintiffs to show that the State agent acted willfully, maliciously,

fraudulently, in bad faith, or beyond his or her authority. Id.

                    c.     The individual defendants were performing a function
                           which entitles them to State-agent immunity

      The Plaintiffs’ claims against the Defendants result from the decision to require

students to wear masks in the school building. Both Alabama Code § 36-1-12(c) and

Ex parte Cranman explicitly state that an education employee is entitled to State-

agent immunity for exercising judgment in educating students.


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      This issue of whether “educating students” includes the function of supervision

of students has repeatedly come before Alabama Supreme Court. Each time this issue

has arisen, the Alabama Supreme Court has found that the “education of students”

includes supervising students and, therefore, the supervision of students is a function

which entitles an education employee to State-agent immunity. For instance in Ex

parte Mason, 146 So.3d 9, 13-14 (Ala. 2013), the Alabama Supreme Court stated that:

      ‘educating students’ as described in Ex parte Cranman . . . includes not
      only classroom teaching, but also supervising and educating students in
      all aspects of the educational process. . . . Because the conduct at issue
      in this case involves the exercise of discretion in supervising students,
      [defendant] has satisfied his burden of demonstrating that [plaintiff’s]
      claims arise from his exercise of discretion while performing his duties
      as a bus driver in supervising students and that he is entitled to state-
      agent immunity.

See Ex parte Yancey, 8 So.3d 299, 305 (Ala. 2008) (“Educating students” includes

the supervision of students); Ex parte Trottman, 965 So.2d 780, 783-86 (Ala. 2007);

Ex parte Nall, 879 So.2d 541, 544 (Ala. 2003).

      Because the Plaintiffs’ claims are based on the alleged decisions of the

Defendants with respect to supervising their activities at school, Alabama Supreme

Court case law is clear and unambiguous that Plaintiffs’ claims arise from a function

that would entitle the individual defendants to State-agent immunity.




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      As a result, the burden shifts to the Plaintiffs to show that the individual

defendants acted willfully, maliciously, fraudulently, in bad faith, or beyond their

authority. Ex parte Trimble, 201 So.3d at 1128.

                   d.     There is no plausible allegation that the individual
                          defendants acted beyond their authority

      There is no allegation that the Defendants acted willfully, maliciously,

fraudulently, or in bad faith. Rather, Plaintiffs contend that the Defendants acted

beyond their authority in implementing a mask mandate. “A State agent acts beyond

authority and is therefore not immune if the plaintiff demonstrates that she failed to

discharge duties pursuant to detailed rules or regulations such as those stated on a

checklist.” Ex parte Trimble, 201 So.3d 1124, 1128 (Ala. 2016) (emphasis added).

      In this case, there are no detailed rules or regulations concerning whether

school officials may require students to wear masks while at school. The ADPH

recommends that schools require masks. The only alleged rule which Plaintiff

contends was violated is the Alabama Constitutional provisions as set forth above.

However, these Constitutional provision are vague propositions of law which do not

address or mention masks. No reasonable argument could be made that these

provisions are “detailed rules or regulations.” Thus, there is no plausible allegation

that the individual defendants’ actions violated the Alabama Constitution or that they



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acted beyond their authority.

      Accordingly, Christie Finley, Elisa Ferrell, Beth Wilder, Carlos Mathews,

Michelle Watkins, and Ryan Renaud are entitled to State-agent immunity with respect

to the individual capacity claims asserted against them in Count II.

IV.   CONCLUSION

      For the reasons stated herein, the Defendants’ Motion to Dismiss is due to be

granted and this case is due to be dismissed with prejudice.



                                       /s/ Taylor P. Brooks
                                       Christopher M. Pape
                                       Taylor P. Brooks
                                       Zachary B. Roberson

                                       Attorneys for Defendants
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                                       Carlos Mathews, Michelle Watkins, and Ryan
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing upon with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the
following:

      Adam Stephens
      adamtstephens9470@gmail.com


      On this the 15th day of November, 2021.


                                                /s/ Taylor P. Brooks
                                                Of Counsel




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